AFFIDAVIT OF SERVICE

STATE OF NEW YORK _ )
) 8S.
COUNTY OF NASSAU )

Faye Lampropoulos, being duly sworn, deposes and says: that deponent is not a party to
the action, is over eighteen (18) years of age and is an employee of Deli & Dean, PLLC with
offices located in Garden City, NY.

That on 7/7/23 deponent served the within Declaration in Opposition, Exhibits A-C and
Memorandum of Law in Opposition upon the following defendants, by email and by depositing a
true copy of same enclosed in a postpaid properly addressed wrapper, in an official depository
under the exclusive care and custody the United States Postal Service within New York State, at
the following address(es):

LEWIS, BRISBOIS, BISGAARD & SMITH, LLP
Attorney for Defendant(s)

Hyatt Ziva Rose Hail

Hyatt Hotels Corporation

77 Water Street

Suite 2100

New York, NY 10005

(212) 232-1300

Dean.Pillarella@lewisbrisbois.com a a“

~ Boon

Faye Lampropoulos

Sworn to before me this
7th t of July, 2023
/ .

*‘olary Public

DARSHELL M HINES
NOTARY PUBLIC, STATE OF NEW YORK)
Registration No. 04H16413658
Nassau County
Commission Explres February 02, 2025

